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                           49D02-1903-CT-009176                       Filed: 3/6/201911:34 AM
                                                                                         Clerk
                                        Marlon Superior Court, Civil Division 2                  Marlon County. Indiana




   STATE OF INDIANA                          )       IN THE MARION CIRCUIT/SUPERIOR COURT
                                             )SS:
   COUNTY OF MARION                          )      CAUSE NO.

   LILLIAN SORLIE,                                              )
                                                                )
                           Plaintiff,                           )
                                                                )
           V.                                                   )
                                                                )
   SAM’S EAST, INC., and                                        )
   WAL-MART STORES, INC.,                                       )
                                                                )
                           Defendants.                          )

                COMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL

           Comes now the Plaintiff, LILLIAN SORLIE, and for her Complaint for Damages against

   the Defendants, SAM’S EAST, INC., and WAL-MART STORES, INC., and in this request for a

   jury trial, alleges and says:

   I)    The Plaintiff, LILLIAN SORLIE, is a resident of Madison County, in the State of Indiana.

   2)    The Defendant, SAM’S EAST, INC., is an Arkansas corporation registered and doing

         business in the State of Indiana.

   3)    The Defendant, WAL-MART STORES, INC., is an Arkansas corporation registered and

         doing business in the State of Indiana.

   4)    At all times relevant hereto, the Defendants owned, operated, managed, maintained, and/or

         otherwise controlled a retail establishment known as “Sam’s Club” located at 7235 E. 96*

         Street, in the City of Indianapolis, County of Marion, State of Indiana (hereafter referred to

         as “Defendants’ Store”, “Defendants’ Property”, or “Defendants’ Premises”).

   5)    At approximately 1:30 p.m. on July 30, 2018, the Plaintiff was an invitee of the Defendants

         at the Defendants’ Store, and was on the Defendants’ Property for the financial benefit of

         the Defendants.

                                                                                  EXHIBIT "A"
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           6)     At the aforementioned time and place, while on the Defendants’ Property, the Plaintiff

                  slipped on water and fell to the ground (hereafter referred to as the “Incident”).

           7)     At the time of the Incident, the Defendants owed to the Plaintiff a duty to maintain the

                  Defendants’ Store in a reasonably safe condition. Orville Milk Co. v. Beller, 486 N.E.2d

                  555 (Ind.Ct.App. 1985).

           ■8)    At the time of the Incident, the Defendants were negligent in failing to exercise reasonable

                  care in maintaining the Defendants’ Store in a reasonably safe condition.

           9)     At the time of the Incident, Indiana law provided that a business invitor is subject to

                  liability for the physical harm caused to its invitee(s) by a condition on land if it:

                  a) knows or by the exercise of reasonable care would discover the condition, and should

                     realize that it involves an unreasonable risk of harm to its invitees;

                  b) should expect that its invitees will not discover or realize the danger, or will fail to

                     protect themselves against it; and

                  c) fails to exercise reasonable care to protect its invitees against the danger.

                  Douglas v. Irvin, 549 N.E.2d 368 (Ind. 1990); Wal-Mart Stores, Inc. v. Wall, 712 N.E.2d

                   1015 (Ind. App. 1999); Restatement (Second) ofTorts, § 353.

            10)   At the time of this Incident, the Defendants knew or in the exercise of reasonable care

                  would have discovered the aforementioned dangerous condition and should have realized

                  that it involved an unreasonable risk of hann to invitees such as the Plaintiff.

            U)    At the time of this Incident, the Defendants should have expected that invitees such as the

                  Plaintiff would not realize or discover the dangerous condition located on the Defendants’

                  Property, or would fail to protect themselves against it.




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        12)   At the time of this Incident, the Defendants failed to exercise reasonable care in protecting

              invitees such as the Plaintiff by failing to have the aforementioned dangerous condition

              mopped and/or cleaned up, by failing to reasonably warning invitees of said condition,

              and/or by permitting invitees such as the Plaintiff to traverse the area of the Defendants’

              Store in which the aforementioned dangerous condition was located.

        13)   At the time of this Incident, the Defendants owed a duty to the Plaintiff to warn her of the

              hazard on the Defendants’ Property. Dv;ffy v. Ben Dee, Inc,. 651 N.E.2d 320 (Ind. App.

              1995); Burrell v. Meads, 569 N.E.2d 637 (Ind. 1991); Douglas v. Irvin, 549 N.E.2d 368,

              369 (Ind. 1990).

        14)   The Defendants’ duty to warn the Plaintiff of any hazards on the Defendants’ Property is

              not limited to only those dangers of which the Defendants are aware. The Defendants, as

              invitors, have a duty to exercise reasonable care to discover defects or dangerous

              conditions on their Property, and are charged with knowledge of any dangerous conditions

              that could have been discovered in the exercise of reasonable care. Lutheran Hasp, of

              Indiana, Inc. v. Blaser, 634 N.E.2d 864 (Ind. App. 1994).

        15)   At the time of this Incident, the Defendants were negligent in failing to warn the Plaintiff    •

              of the aforementioned dangerous condition located on the Defendants’ Property.

        16)   At the time of this Incident, the Plaintiff did not observe the aforementioned dangerous

              condition until after she fell.

        17)   As a direct and proximate result of the Defendants’ negligence, the Plaintiff sustained

              physical injuries.

        18)   As a direct and proximate result of tlie Defendants’ negligence, the Plaintiff has incurred

              medical expenses and other costs.




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           19)   As a direct and proximate result of the Defendants’ negligence, the Plaintiff has

                 experienced, among other things, physical pain, mental anguish, and the loss of enjoyment

                 of life from her personal injuries.



                 WHEREFORE, the Plaintiff respectfully requests judgment against the Defendants in an

          amount reasonable to compensate her for damages sustained, any and all pre-judgment interest

          calculated daily according to law, and any and all other relief deemed just and proper.

                                                        Respectfully Submitted,


                                                        /s/Nicholas J. Wagner
                                                        Nicholas J. Wagner, #30185-84
                                                        Darron S. Stewart, #21114-29
                                                        Attorneys for the Plaintiff
           STEWART & STEWART
           931 South Rangeline Road
           Carmel, Indiana 46032
           (317) 846-8999

                                            REQUEST FOR .JURY TRIAL

                   Comes now the Plaintiff, by counsel, and respectftilly requests that the above matter be
           tried by jury.
                                                        /s/ Nicholas J. Wagner
                                                        Nicholas J. Wagner, #30185-84
                                                        Darron S. Stewart, #21114-29
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